Case: 2:20-cv-00101-WOB-CJS Doc #: 116-19 Filed: 06/30/22 Page: 1 of 6 - Page ID#:
                                    1642



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 November 18, 2021

 Gary Franke, Esq.
 Gary Franke Law
 120 East 4th Street, Suite 1040
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         RE:    Grote v Kenton County, Kentucky, et. al.


 Dear Mr. Franke,

 You have asked me to review the medical records and other case materials relating to the
 medical care provided to Bradley Grote while he was incarcerated at Kenton County Detention
 Center in Covington, Kentucky in July of 2019. My preliminary report includes five sections:

    1.   My background and qualifications;
    2.   Records reviewed;
    3.   Relevant background information;
    4.   Chronological summary of pertinent events in the case;
    5.   A summary of my opinions, based on my education, experience, and research.

 1. Background and Qualifications

 I am a Medical Doctor licensed to practice medicine in Idaho and several other states. I am
 residency trained and Board Certified in Emergency Medicine. I practiced Emergency Medicine
 from 1986 through 2014. I have been elected to be a Fellow of the American College of
 Emergency Physicians (FACEP). I began providing medical care to jail inmates in 1996 and
 began practicing Correctional Medicine full time from 2014 to the present. My company, Badger
 Medical, provided medical care to inmates incarcerated in several jails and juvenile detention
 facilities in Idaho. I was also the Chief Medical Officer of Centurion LLC from 2014-2019 and
 in that role supervised the medical care provided to inmates incarcerated in several state prison
 systems, including Massachusetts, Florida, Tennessee and several others. Between my own jail
 medicine company and my work with state prison systems, I have extensive experience in
 supervising medical programs in both jails and prisons. I have written and lectured extensively
 about the practice of correctional medicine. I have been elected to be a Fellow of the American
 College of Correctional Physicians (FACCP) and currently serve as the President-elect of ACCP.
Case: 2:20-cv-00101-WOB-CJS Doc #: 116-19 Filed: 06/30/22 Page: 2 of 6 - Page ID#:
                                    1643



 Pertinent to this case, I have extensive experience evaluating and treating patients in both the ER
 and jails for methamphetamine intoxication.

 My current CV is attached as Appendix A, which lists my qualifications and publications in
 more detail.


 2. Documents Reviewed
 Before developing my final opinions in this case, I reviewed the materials listed in Appendix C
 attached to this report. The materials reviewed are of the type typically relied upon by
 consultants and experts when conducting an analysis of correctional medical practices and
 provided me with enough relevant data to develop my opinions to a reasonable degree of medical
 certainty.


 3. Background

 Methamphetamine (meth) is a common drug of abuse in the United States. Meth is also
 commonly smuggled into and abused in correctional facilities. It is not uncommon for arrestees
 to swallow packets of methamphetamine (or other drugs) at the time of arrest. This often leads
 to methamphetamine overdose. Methamphetamine also is commonly mixed with other drugs
 such as fentanyl and PCP that can lead to mixed, polypharmacy overdoses. All correctional
 personnel need to be familiar with the signs and symptoms of meth abuse and meth withdrawal.
 Meth can be snorted, eaten, smoked or injected IV. It causes euphoria, arousal, increased energy
 and sleeplessness. Methamphetamine overdose can manifest a range of symptoms depending on
 the dose, how it is ingested and what (if anything) it is mixed with. Mild overdose symptoms
 include sweating, agitation, restlessness, rapid breathing, rapid heart rate, elevated blood
 pressure, fever and chest pain. Severe overdose can cause delirium, confusion, severe agitation,
 organ failure, cardiovascular collapse and death. Methamphetamine overdose in the setting of
 swallowed baggies of the drug is a medical emergency.

 Methamphetamine intoxication and overdose are commonly seen in jails, including the Kenton
 County Detention Center. Several officers testified at deposition that they had seen
 methamphetamine overdoses in the jail before and that meth overdose was not unusual. One
 officer testified that he had seen three meth overdoses on one night.

 4. Chronological Summary

 On 7/19/2019 at 16:04, Mr. Grote was booked into the Kenton County Detention Center. He
 was noted to be “acting erratic” during booking and admitted that he had “ingested drugs” prior
 to coming to jail (Officer Brown report). Medical was called to evaluate Mr. Grote.
Case: 2:20-cv-00101-WOB-CJS Doc #: 116-19 Filed: 06/30/22 Page: 3 of 6 - Page ID#:
                                    1644



 From this point on, all interactions with Mr. Grote were videotaped and are available for review.
 (The clock on the video is out of sync with the actual time and is in parentheses. It appears that
 the actual time was three hours earlier than the video camera clock shows).

 At (20:31 on the video), Mr. Grote was seen in booking by LPN Brand. Mr. Grote was clearly in
 distress. He was visibly diaphoretic (covered in sweat) and extremely restless. His respiratory
 rate can easily be calculated as being greater than 40 breathes per minute.

 At (20:32), LPN Brand placed a pulse oximeter on Mr. Grote’s finger to measure his heart rate
 and oxygen saturation. She wrote something down (probably the vital signs) on her glove. At
 (20:34), LPN Brand attempted to get a blood pressure. At (20:35) LPN Brand said “Can we take
 him to a cell somewhere?” At (20:36), Mr. Grote was escorted to cell B4 and lay down on the
 concrete pad. At (20:37), LPN Brand again placed a pulse oximeter on Mr. Grote’s finger. She
 then said “I’m going to put oxygen on you. Your sats are too low” and placed an oxygen mask
 on Mr. Grote. Mr. Grote’s respiratory rate again can easily be counted and were greater than 50.
 LPN Brand removed the oxygen.

 Five days after this incident, on 7/24/19, LPN Brand wrote a progress note about this encounter
 in which she said that Mr. Grote had reported using meth and that he had been “acting erratic.”
 LPN Brand stated that “vital signs were attempted at this time, pt was unable to hold still long
 enough to obtain a proper BP.”

 However, there are four vital signs: Respiratory rate, heart rate, temperature and blood pressure.
 Mr. Grote’s respiratory rate is easily calculated from the video as being over 50. LPN Brand
 applied an oximeter to Mr. Grote’s finger, which she stated gave her two blood oxygen readings
 of 89% and later 96%. However, the oximeter will not give blood oxygen readings without also
 displaying a heart rate, which evidently, LPN Brand did not record. She also made no attempt to
 get a temperature. Since LPN Brand did not document this encounter until five days later, I
 suspect she simply forgot the vital signs she did collect.

 At (20:39), LPN Brand told the officers to do “15 minute-10 minute” watches on Mr. Grote. At
 (20:40 on the video) LPN Brand and the officers left the cell.

 The deputies recorded checking on Mr. Brand at 17:54 (20:54) and 18:23 (21:23). The officers
 did not use the “Kenton County Detention Center Observation Form” created for this purpose.
 Instead, they used a “Security Patrol Log” in which they recorded that “Booking” was “Secure.”
 There is no other specific documentation of Mr. Grote’s condition. There is also no record that
 the Officers communicated any findings with LPN Brand. In other words, it appears that the
 officers did nothing other than the security checks they would have done anyway.

 At (21:33), a trustee inmate alerted the deputies to check on Mr. Grote. Mr. Grote was found to
 be “foaming at the mouth and having seizure-like activity.” The videos of the interactions began
 again here. At (21:33) the officers arrived at the cell and do a sternal rub on Mr. Grote. He
Case: 2:20-cv-00101-WOB-CJS Doc #: 116-19 Filed: 06/30/22 Page: 4 of 6 - Page ID#:
                                    1645



 showed no response. At (21:34) the officers rolled Mr. Grote onto his left side and LPN Brand
 arrived shortly thereafter. At (21:35), LPN Brand placed an ammonia capsule under Mr. Grote’s
 nose but, again, he showed no response. At (21:36), LPN Brand applied oxygen via nasal
 canula.

 Mr. Grote can be observed on the video to be unconscious, pale, tachypneic, drooling and in
 severe distress.

 At (21:37) LPN Brand wiped sputum away from Mr. Brand’s mouth, which she repeated several
 other times. At (21:40), LPN Brand applied a blood pressure cuff. The ambulance was called at
 17:43 (21:43).

 LPN Brand subsequently wrote a progress note about this encounter in which she reported that
 Mr. Grote’s vital signs were “Blood pressure 113/70, Pulse: 58 Respiration 12 Pulse oxygen
 85%.” However, Mr. Grote’s respiratory rate can be easily calculated from the video as being
 over 50 and these vital signs are not congruent with the EMT vital signs obtained shortly
 thereafter.

 At 5:49 PM, (21:50), the EMTs arrived. The EMTs record a heart rate of 110, a blood pressure
 of 160/75 and a Glascow Coma Score of 4/15. The EMTs secured an airway, packaged Mr.
 Grote for transport and wheeled Mr. Grote out of the room at (21:58).

 At the hospital, Mr. Grote was admitted to the ICU. He has a stormy course but eventually died.
 A subsequent autopsy determined that the cause of death was “Acute Methamphetamine
 Intoxication.”

 5. Summary of Opinions

 I hold these opinions to a reasonable degree of medical certainty:

    1.  Mr. Grote showed the classic signs and symptoms of methamphetamine intoxication and
       overdose when he was being booked into the Kenton County Detention Center. His
       distress is clearly obvious on the video of his initial encounter with Detention Officers
       and LPN Brand. The notes of LPN Brand and the officers show that they understood that
       Mr. Grote was showing methamphetamine toxicity. Mr. Grote’s degree of distress would
       have been obvious even to a layman. At deposition, multiple officers testified that they
       had seen methamphetamine overdose before and so were familiar with the syndrome
       (though they also testified that they had never received any specific training on this
       subject).
    2. LPN Brand wrote five days after the initial encounter with Mr, Grote that she was unable
       to obtain vital signs. This is at best incorrect and at worst a falsification. The respiratory
       rate is easily calculated on the video and is grossly abnormal. The heart rate was
       displayed on the finger oximeter when the oxygen saturation level was obtained. Ms.
Case: 2:20-cv-00101-WOB-CJS Doc #: 116-19 Filed: 06/30/22 Page: 5 of 6 - Page ID#:
                                    1646



         Brand appears to have written the vital signs down on her glove. She simply failed to
         write any record of the encounter at the time. The heart rate was more likely than not
         also abnormal. Ms. Brand also did not attempt to obtain a temperature, which more
         likely than not also would have been abnormal. The failure to obtain and record accurate
         vital signs was a violation of the medical standard of care. The failure to make any
         record of this encounter with Mr. Grote at the time was a violation of the medical
         standard of care.
    3.   Even without consideration of the abnormal vital signs, it should have been clear to
         everyone in attendance that Mr. Grote was in severe distress and needed urgent medical
         attention. The appropriate response would have been to call an ambulance immediately.
         The Kenton County Policies and Procedures clearly state that the Officers have the
         authorization to call for emergency services without waiting for the advice of medical
         staff. Both LPN Brand and the officers share the failure to call for emergency services.
         The failure to call an ambulance at this time was a breach of the medical standard of care
         that showed deliberate indifference to a serious medical need.
    4.   If Mr. Grote had been sent to the emergency department by ambulance at the time of his
         initial encounter with medical, Mr. Grote more than likely would have survived.
    5.   At the end of the initial encounter, LPN Brand instructed the Correctional Officers to do
         10-15 minute checks on Mr. Grote’s well-being. This would have involved using the
         “Kenton County Detention Center Observation Form” and reporting back any findings to
         medical. The deputies only did the routine booking security checks and this did not
         involve checking in any special way on Mr. Grote. By this time they were notified by a
         jail trustee to really check on Mr. Grote, Mr. Grote was dying. The failure to do the 10-15
         minute medical observation of Mr. Grote’s well-being as instructed by medical was a
         breach of Jail standards and demonstrated a deliberate indifference to a serious medical
         need,
    6.   If the officers had done a check using the “Kenton County Detention Center Observation
         Form” on Mr. Grote ten to fifteen minutes as they had been instructed to do by LPN
         Brand, they more likely than not would have discovered Mr. Grote to have deteriorated.
         Had they called an ambulance earlier, it is probable that Mr. Grote would have survived.
         The lack of timely assessments of Mr. Grote’s deteriorating condition; the lack of
         documentation of these assessments; the failure to communicate these assessments to
         medical constituted deliberate indifference to a serious medical need.
    7.   Even after Mr. Grote was later discovered to be moribund and dying, no one called an
         ambulance for ten full minutes. The failure to call an ambulance immediately when Mr.
         Grote was discovered to be unconscious and moribund was a violation of the medical
         standard of care and a violation of the Kenton County Detention Center Policies.
    8.   LPN Brand recorded inaccurate vital signs. For example, Mr. Grote’s respirations are
         audible in the video as greater than 50 per minute, not 12 as Ms. Brand recorded. The
         heart rate and blood pressures she recorded are also inaccurate compared to the heart rate
         and blood pressure obtained a few minutes later by the EMTs. The failure to record
         accurate vital signs violated the medical standard of care.
Case: 2:20-cv-00101-WOB-CJS Doc #: 116-19 Filed: 06/30/22 Page: 6 of 6 - Page ID#:
                                    1647



    9. Mr. Grote’s death was preventable had the jail staff called an ambulance when they first
       recognized methamphetamine overdose and a patient who was clearly in distress.


 I reserve the right to amend or supplement my report as further relevant information becomes
 available.

 Please contact me if you have any further questions.

 Sincerely,




 Jeffrey E. Keller MD, FACEP, FACCP

 November 18, 2021
 Date
